                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


WENDELL MATTHEW TURNER,                  )
                                         )
             Plaintiff,                  )
                                         )
       v.                                )           1:20CV963
                                         )
STATE OF NORTH CAROLINA, et al.,         )
                                         )
             Defendants.                 )
                                         )
                                         )

                                      ORDER

      On September 22, 2021, the United States Magistrate Judge’s

Recommendation was filed and notice was served on the parties pursuant to 28

U.S.C. § 636. Defendant filed objections [Doc. #15] within the time limit

prescribed by § 636. The Court has reviewed Defendant’s objections de novo and

finds that they do not change the substance of the United States Magistrate

Judge’s Recommendation [Doc. #13], which is affirmed and adopted.

      IT IS THEREFORE ORDERED that Defendant Mocksville Police Department’s

Motion to Dismiss [Doc. #8] is GRANTED, that all of Plaintiff's claims are

DISMISSED without prejudice, and that this case is closed.

      This the 13th day of October, 2021.

                                                  /s/ N. Carlton Tilley, Jr.
                                             Senior United States District Judge




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